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        United States Court of Appeals
             for the Fifth Circuit
                              ___________                     United States Court of Appeals
                                                                       Fifth Circuit


                               No. 23-50491                          FILED
                                                                 June 12, 2024
                              ___________
                                                                Lyle W. Cayce
Career Colleges and Schools of Texas,                                Clerk

                                                        Plaintiff—Appellant,

                                   versus

United States Department of Education; Miguel
Cardona, Secretary, U.S. Department of Education, in his official capacity
as the Secretary of Education,

                                        Defendants—Appellees.
               ______________________________

               Appeal from the United States District Court
                    for the Western District of Texas
                         USDC No. 1:23-CV-433
               ______________________________

          ON PETITION FOR REHEARING EN BANC

Before Jones, Duncan, and Wilson, Circuit Judges.
Per Curiam:
      Treating the petition for rehearing en banc as a petition for panel
rehearing (5th Cir. R. 35 I.O.P.), the petition for panel rehearing is
DENIED. Because no member of the panel or judge in regular active
service requested that the court be polled on rehearing en banc (Fed. R.
App. P. 35 and 5th Cir. R. 35), the petition for rehearing en banc is
DENIED.
